            Case 2:20-cv-00003-FVS                  ECF No. 20           filed 09/25/20    PageID.672 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for thH_                                         FILED IN THE
                                                                                                               U.S. DISTRICT COURT
                                                     Eastern District of Washington                      EASTERN DISTRICT OF WASHINGTON

                          NICOLE R.,
                                                                                                          Sep 25, 2020
                                                                     )                                        SEAN F. MCAVOY, CLERK
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:20-CV-3-FVS
                ANDREW M. SAUL,                                      )
   Commissioner of the Social Security Administration,               )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 14, is GRANTED, in part, and the matter is remanded for further
u
              proceedings consistent with this Order.
              Defendant’s Motion for Summary Judgment, ECF No. 16, is DENIED.
              Judgment entered for the Plaintiff.


This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge                          ROSANNA MALOUF PETERSON                            on a motion for
      summary judgment.


Date: 9/25/2020                                                              CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Tonia Ramirez
                                                                                           %\ Deputy Clerk

                                                                             Tonia Ramirez
